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 6
                                     UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                          Cr. No. S-11-275 JAM
10
                        Plaintiff,                  STIPULATION AND ORDER CONTINUING
11                                                  SENTENCING
            v.
12                                                  August 26, 2014 at 9 AM before Judge Mendez
     AIMEE SISCO, et al
13

14                      Defendants.

15
        The parties have entered into further negotiations regarding sentencing in this case. New
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     information has come to the attention of the Government that may affect their recommendation as
17
     to disposition. It is therefore requested that the present sentence date of July 29, 2014 be
18
     continued to August 26, 2014 at 9:30 a.m. The parties respectfully request the Court so order.
19
     Dated July 27, 2014
20
       /s/ SAMUEL WONG                        /s/ J TONEY
21
       Samuel Wong                          J. Toney
22
     Assistant U.S. Attorney           Attorney for Aimee Sisco
23
     IT IS SO ORDERED:
24
     Dated: 7/28/2014
25
                                                       /s/ John A. Mendez________________
26
                                                       U. S. District Court Judge
27

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